         Case 4:23-cv-00165-AW-MAF Document 29 Filed 06/01/23 Page 1 of 33




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

    LEAGUE OF WOMEN VOTERS OF
    FLORIDA, INC., et al.,
          Plaintiffs,
    v.                                          Case No. 4:23-cv-165-AW-MAF
    CORD BYRD, in his official capacity
    as Florida Secretary of State,
          Defendant.

              PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO
                   DEFENDANT’S MOTION TO DISMISS
         Defendant’s two arguments in support of dismissal are unavailing, and the

Court should deny his motion to dismiss Plaintiffs’ claim.

         First, Thompson v. Alabama, 65 F.4th 1288 (11th Cir. 2023), 1 does not decide

this case in Defendant’s favor. Thompson held that Alabama’s voter-registration

form satisfied the National Voter Registration Act (NVRA) by specifying that appli-

cants must not have been convicted of a “disqualifying felony” without listing every

disqualifying offense. 65 F.4th at 1308-09. Thompson stands for the proposition that

when voting eligibility depends on the crime of conviction, the NVRA is satisfied

when a voter-registration form notifies applicants that eligibility depends on the type



1   Unless otherwise noted, all internal quotations are omitted and emphasis is added.

                                           1
     Case 4:23-cv-00165-AW-MAF Document 29 Filed 06/01/23 Page 2 of 33




of offense. Florida’s mail-in voter-registration application (the Application) fails to

do even this. The language Plaintiffs challenge—that returning citizens are ineligible

until their “right to vote [is] restored”—does not specify any eligibility requirement

but merely signals that there are eligibility requirements for people with felony con-

victions. Indeed, Defendant acknowledges that returning citizens are not eligible to

vote “unless certain conditions are met.” Mot. to Dismiss, ECF No. 24 (MTD) at 10.

Yet the Application nowhere provides notice that such conditions exist or indicates

what they are. The stakes of this absence are high: dozens of returning citizens have

been prosecuted after registering to vote based on a good-faith belief in their eligi-

bility. Complaint ¶ 111-122, ECF No. 1 (Compl.).

      Defendant claims—incorrectly—that the Application is “indistinguishable in

all material aspects” from Alabama’s voter-registration application upheld in

Thompson, so Plaintiffs’ Complaint cannot state a claim for relief under the NVRA.

MTD at 3. But Florida’s eligibility requirements, its Application, and Plaintiffs’

claim in this case fundamentally differ from those at stake in Thompson. The only

similarity to Thompson that Defendant identifies is that the Florida Application con-

tains a hyperlink to additional information that purportedly specifies eligibility re-

quirements. But the Eleventh Circuit did not hold that providing a link on an appli-

cation is per se sufficient to satisfy the NVRA. To the contrary, the court in Thomp-

son undertook a fact-specific inquiry—on a full summary-judgment record—to


                                          2
      Case 4:23-cv-00165-AW-MAF Document 29 Filed 06/01/23 Page 3 of 33




determine only whether the NVRA required Alabama to list the state’s disqualifying

felonies involving moral turpitude on its voter-registration form. Similarly, as dis-

cussed below, whether the Application sufficiently “informs” voters of Florida’s el-

igibility requirements raises significant factual issues that cannot be resolved without

the benefit of discovery.

       Second, Defendant’s novel argument that Plaintiffs did not comply with the

NVRA’s notice provisions is wrong. The NVRA does not require that a notice letter

contain magic words, and no court has embraced Defendant’s position that an NVRA

notice letter is defective if it does not include an explicit threat to sue. The NVRA

requires only that the letter notify the relevant state elections official of the violation.

Plaintiffs’ notice letter did just that. Thus, Defendant does not—and cannot—contest

that Plaintiffs’ letter provided adequate notice. This Court should reject Defendant’s

unfounded argument and deny the motion to dismiss.

                              STATEMENT OF FACTS

       In the NVRA, Congress established thresholds and standards to govern states’

provision of voter-registration information to prospective voters in federal elections.

Compl. ¶ 2. To ensure that only eligible voters register to vote, Congress specified

that states—in their administration of mail-in registration, DMV-based registration,

and agency registration for federal elections—must “inform applicants . . . of voter

eligibility requirements” and the penalties attendant to the false submission of voter-



                                             3
     Case 4:23-cv-00165-AW-MAF Document 29 Filed 06/01/23 Page 4 of 33




registration information. 52 U.S.C. § 20507(a)(5)(A)-(B). The NVRA separately re-

quires that state mail-in voter-registration forms used for federal elections “include

a statement that [] specifies each eligibility requirement” that prospective voters

must meet. Id. § 20508(b)(2)(a).

      The State of Florida’s mail-in voter-registration application leaves many pro-

spective voters—particularly those with prior felony convictions—unable to make

an informed decision about their eligibility. Compl. ¶ 10. Florida’s eligibility re-

quirements for returning citizens differ depending on the crime, terms of sentence,

and state of conviction. But the Application says nothing about these requirements.

Making matters worse, Florida agencies have proven unable to timely verify the el-

igibility of voters. Id. ¶¶ 105-110. The Application exacerbates the widespread con-

fusion about eligibility criteria under Florida’s convoluted regime for applicants with

prior felony convictions. Florida has chosen to withhold the information that its cit-

izens need to determine their eligibility, id. ¶¶ 109, 128, and it has exploited this

state-created uncertainty by investigating and prosecuting individuals who believed

in good faith in their eligibility to vote, id. ¶¶ 111-122. In some instances, Florida

even arrested individuals who sought and received confirmation of their eligibility

from Florida government officials. Id. ¶¶ 132-133.

      Plaintiffs—nonprofit, nonpartisan organizations that assist eligible Floridians

with past convictions in registering to vote—seek to protect and advance the interests


                                          4
     Case 4:23-cv-00165-AW-MAF Document 29 Filed 06/01/23 Page 5 of 33




of the community that the Application fails to protect. They also seek to prevent their

own volunteers from potentially putting themselves at risk of future prosecution, at

a time when Florida prosecutors are reportedly investigating voter-registration

groups and their members for allegedly registering ineligible returning citizens.

Compl. ¶¶ 31-70.

      On January 13, 2023, Plaintiffs served notice of Florida’s NVRA violations

on Defendant. Id. ¶¶ 193-194; Compl., Ex. 2, ECF No. 1-2. Defendant waited until

the day before the statutory 90-day notice period expired to respond, and that letter

did not address any of the violations or propose a remedy. Id. ¶¶ 193-194; Compl.,

Ex. 3, ECF No. 1-3. Plaintiffs filed suit on April 26, 2023, 103 days after serving

notice of Florida’s NVRA violations on Defendant.

                             STANDARD OF REVIEW

      To satisfy Federal Rule of Civil Procedure 8 and overcome a Rule 12(b)(6)

motion to dismiss, a complaint need only “contain sufficient factual matter, accepted

as true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (cleaned up). The complaint “need not contain ‘detailed factual

allegations’”; the allegations need only “‘raise a right to relief above the speculative

level.’” Renfroe v. Nationstar Mortg., LLC, 822 F.3d 1241, 1244 (11th Cir. 2016)

(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)).

      “Asking for plausible grounds does not impose a probability requirement at



                                            5
     Case 4:23-cv-00165-AW-MAF Document 29 Filed 06/01/23 Page 6 of 33




the pleading stage,” and “a well-pleaded complaint may proceed even if it strikes a

savvy judge that actual proof of those facts is improbable, and that a recovery is very

remote and unlikely.” Twombly, 550 U.S. at 545, 556 (cleaned up). “In ruling on a

12(b)(6) motion, the Court accepts the factual allegations in the complaint as true

and construes them in the light most favorable to the plaintiff.” Speaker v. U.S. Dep’t

of Health & Hum. Servs. Ctrs. for Disease Control & Prevention, 623 F.3d 1371,

1379 (11th Cir. 2010). 2




2 Defendant invokes Federal Rule of Civil Procedure 12(b)(1), MTD at 1, but none
of his arguments implicate the Court’s subject-matter jurisdiction. Rather, Defendant
conflates statutory standing under the NVRA’s pre-suit notice provision, see infra
Section II, with Article III standing under the Constitution. See generally Lexmark
Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118, 128 n.4 (2014) (explain-
ing that “the absence of a valid (as opposed to arguable) cause of action does not
implicate subject-matter jurisdiction, i.e., the court’s statutory or constitutional
power to adjudicate the case”) (emphasis omitted); Arbaugh v. Y&H Corp., 546 U.S.
500, 515, 516 (2006) (clarifying that unless Congress “clearly states” that a limita-
tion on a statute’s scope is jurisdictional, the limitation should be treated as nonju-
risdictional); see also Am. C.R. Union v. Martinez-Rivera, 166 F. Supp. 3d 779, 794
n.9 (W.D. Tex. 2015) (explaining that “[t]he NVRA notice provision is nonjurisdic-
tional” and applying Rule 12(b)(6) to allegedly deficient notice); Project Vote, Inc.
v. Kemp, 208 F. Supp. 3d 1320, 1346, 1347-48 (N.D. Ga. 2016) (applying Rule
12(b)(6) to analyze and deny motion to dismiss based on allegedly deficient NVRA
notice). But see Bellitto v. Snipes, 221 F. Supp. 3d 1354, 1362 (S.D. Fla. 2016) (de-
clining to distinguish between statutory standing and constitutional standing and ap-
plying Rule 12(b)(1) to allegedly deficient NVRA notice).

                                          6
      Case 4:23-cv-00165-AW-MAF Document 29 Filed 06/01/23 Page 7 of 33




                                     ARGUMENT

I.    The Complaint States a Claim Under the NVRA.

      Under the NVRA, a state’s mail-in voter-registration application must contain

“a statement that . . . specifies each eligibility requirement.”3 To satisfy this provi-

sion, an application must provide “sufficient notice” to registrants of those require-

ments. Thompson, 65 F.4th at 1309. The application must also “inform appli-

cants . . . of . . . voter eligibility requirements.”4 Plaintiffs allege that Florida’s Ap-

plication does not meet these requirements because it does not specify or inform

applicants that the eligibility requirements differ depending upon a returning citi-

zen’s class of offense, state of conviction, and sentence received and served. See

generally Compl. ¶ 10.

      Because different states have different eligibility requirements and different

application forms, a given application’s compliance with the NVRA depends on the

state-specific eligibility requirements, the content of the application at issue, and




3 52 U.S.C. §§ 20505(a)(2) (requiring that state mail-in voter-registration forms sat-
isfy the criteria in Section 20508(b)); 20508(b)(2)(A) (requiring that federal mail-in
voter-registration forms “include a statement that specifies each eligibility require-
ment”).
4 52 U.S.C. §§ 20505(a)(2) (requiring that state mail-in voter-registration forms sat-
isfy the criteria in Section 20508(b)); 20508(b)(4)(i) (requiring voter-registration
forms to “include . . . the information required in section 20507(a)(5)(A) and (B)”);
20507(a)(5) (requiring states to “inform applicants . . . of voter eligibility require-
ments”).

                                            7
     Case 4:23-cv-00165-AW-MAF Document 29 Filed 06/01/23 Page 8 of 33




whether the latter adequately informs applicants in the state. Defendant’s motion

ignores that fact-specific inquiry and relies entirely on Thompson—a recent decision

that addressed a different application in a different state with different eligibility re-

quirements, and a different factual setting. This case is about Florida’s Application

and eligibility requirements. And the Complaint plausibly alleges that Florida’s Ap-

plication fails to specify and inform potential voters of those requirements in viola-

tion of the NVRA.

      A.     Thompson Involved Different Voter-Eligibility Requirements and
             Different Claims.

      The core premise of Defendant’s motion is that Florida’s Application is “in-

distinguishable in all material aspects” from the Alabama form at issue in Thompson.

MTD at 3. Even if that were true—it is not, see infra Section I.B.—Thompson would

not foreclose Plaintiffs’ challenge. Florida’s eligibility scheme differs from Ala-

bama’s, and Plaintiffs’ NVRA claim differs from the one that the Thompson plaintiffs

raised.

      First, in Thompson, the plaintiffs’ NVRA claim challenged only Alabama’s

failure to specify on the face of its application exactly those state-law felony offenses

that disqualified prospective voters. Under Alabama’s voter-eligibility scheme, a

person convicted of a felony involving “moral turpitude” cannot vote unless she re-

ceives a pardon or obtains a restoration of civil rights by applying for, and receiving,

a Certificate of Eligibility to Register to Vote (CERV). See Thompson v. Merrill, 505

                                            8
     Case 4:23-cv-00165-AW-MAF Document 29 Filed 06/01/23 Page 9 of 33




F. Supp. 3d 1239, 1251-53 (M.D. Ala. 2020). The Alabama application states that, to

register to vote, one must not “have been convicted of a disqualifying felony, or if

you have been convicted, you must have had your civil rights restored.” Id. It also

requires the applicant to declare: “I am not barred from voting by reason of a dis-

qualifying felony conviction (The list of disqualifying felonies is available on the

Secretary of State’s web site at: sos.alabama.gov/mtfelonies).” Id.

      The Thompson plaintiffs claimed that Alabama’s voter-registration application

failed to adequately specify each voter-eligibility requirement because it did “not

explicitly list all the disqualifying felonies under Alabama law”—more than 60

crimes in total, not including disqualifying felonies under federal law and the laws

of other states. 65 F.4th at 1308. The district court and the Eleventh Circuit held that

requiring Alabama to list all disqualifying felonies would result in an application of

“monstrous size”; amount to “ask[ing] Alabama to attach a copy of each state, fed-

eral, and foreign criminal code to its voting form”; and force the state to update the

form each time those codes changed. Id.

      Here, by contrast, Plaintiffs challenge the Florida Application for failing to

specify or inform applicants of the multiple eligibility requirements for returning

citizens. In Florida there are three different eligibility requirements that apply to cit-

izens convicted of felonies. See generally Compl. ¶¶ 10, 168-179. For persons con-

victed of statutorily enumerated murder or felony sexual offenses in Florida, their


                                            9
     Case 4:23-cv-00165-AW-MAF Document 29 Filed 06/01/23 Page 10 of 33




rights can only be restored through the clemency process. Id. ¶¶ 170-171. For per-

sons convicted of other felony offenses in Florida, the State automatically restores

their rights upon completion of all the terms of their sentence, including probation,

parole, or community control and payment of certain legal financial obligations

(LFOs). Id. ¶¶ 172-174. And for persons convicted of out-of-state felonies, their el-

igibility to vote in Florida depends upon their eligibility to vote in the state of con-

viction. Id. ¶¶ 175-179; see also MTD at 4 (quoting the Florida Division of Elections

website). The Application mentions none of these requirements. Instead, it presents

a lone conclusory statement: those “convicted of a felony . . . cannot register until

[their] right to vote is restored.” Compl., Ex. 1, ECF No. 1-1.

       Because the Application does not “specify” or “inform” applicants of any of

the three eligibility requirements for those with felony convictions—much less

“each” of them—it violates the NVRA. See 52 U.S.C. §§ 20505(a)(2), 20507(a)(5).

The NVRA does not define “specify.” See 52 U.S.C. § 20502. Absent a statutory

definition, courts “look to the common usage of words for their meaning” and “often

turn to dictionary definitions for guidance.” CBS Inc. v. PrimeTime 24 Joint Venture,

245 F.3d 1217, 1222-23 (11th Cir. 2001). “Specify” means “to mention specifically;

to state in full and explicit terms; to point out; to tell or state precisely or in detail;

to particularize; or to distinguish by words one thing from another.” BLACK’S LAW

DICTIONARY (6th ed. 1990); see also Kucana v. Holder, 558 U.S. 233, 243 n.10


                                            10
     Case 4:23-cv-00165-AW-MAF Document 29 Filed 06/01/23 Page 11 of 33




(2010) (quoting WEBSTER’S NEW COLLEGIATE DICTIONARY 1116 (1974)) (“‘[S]pec-

ify’ means ‘to name or state explicitly or in detail.’”); A Flock of Seagirls LLC v.

Walton Cty. Fla., 7 F.4th 1072, 1077 (11th Cir. 2021) (quoting WEBSTER’S THIRD

INTERNATIONAL DICTIONARY 2187 (1961)) (“[S]pecify” means “to mention or name

in a[n] . . . explicit manner.”). As Defendant’s motion acknowledges, the Applica-

tion does not (i) “mention specifically” that voting rights can be restored in different

ways for persons with different types of felony convictions and sentences; (ii) state

in “full and explicit terms” the different eligibility requirements; (iii) “particularize”

the requirements for each category of conviction or sentence; or (iv) “distinguish by

words one thing from another”—i.e., the different requirements applicable to per-

sons convicted of murder or sexual offenses versus other offenses versus out-of-state

offenses. See MTD at 11; see also Compl. ¶¶ 10, 168-177.

      Second, Thompson does not suggest that the text of Florida’s Application,

which is different than Alabama’s, adequately “specifies” and “informs” voters of

Florida’s complex set of requirements for returning citizens. Alabama’s form speci-

fies the eligibility requirement at issue in Thompson—not having been convicted of

a “disqualifying felony”—and refers applicants to the “list” of disqualifying felo-

nies. 505 F. Supp. 3d at 1251-52. Florida’s Application, by contrast, gives no notice

whatsoever that there are different categories of felony offenses, each of which dic-

tates a different path to having one’s “right to vote . . . restored.”


                                           11
     Case 4:23-cv-00165-AW-MAF Document 29 Filed 06/01/23 Page 12 of 33




      Moreover, while Alabama maintains a complex set of rules governing how (if

at all) individuals with criminal convictions can become eligible to vote, 5 there is a

process—separate from voter registration—for returning citizens to determine

whether they meet the criteria for rights restoration, and in turn, eligibility to vote:

applying to the Board of Pardons for a pardon, see Ala. Code § 15-22-36, or a CERV,

see Ala. Code § 15-22-36.1. Alabama, unlike Florida, does not automatically restore

voting rights for any cohort convicted of a disqualifying felony; only the Alabama

Board of Pardons can do so. See Ala. Code § 17-3-31. For Alabama citizens disen-

franchised by felony convictions, the receipt of a CERV or a pardon conclusively

restores their voting rights and offers them certainty about eligibility. See Ala. Code

§ 15-22-36.1 (requiring the Board of Pardons and Paroles to verify that an applicant

has fulfilled each eligibility requirement by conducting an investigation before grant-

ing a CERV); Ala. Code § 15-22-36 (requiring a pardon that is restoring someone’s

civil rights to “specifically express[]” that it has done so).

      Not so in Florida, where there is no CERV or analogue that individuals with

felony convictions can obtain to ensure their compliance with the State’s eligibility




5
 See, e.g., Ala. Code § 15-22-36.1(g) (excepting certain types of offenses from
CERV eligibility); Ala. Code § 15-22-36(a) (excepting certain types of offenses from
pardon eligibility).

                                           12
     Case 4:23-cv-00165-AW-MAF Document 29 Filed 06/01/23 Page 13 of 33




requirements.6 In fact, Florida sends voter information cards to newly registered vot-

ers regardless of eligibility—yet another source of confusion among prospective

voters. Compl. ¶¶ 126, 129-130, 178-179. Florida has attempted to shift the burden

to citizens disenfranchised by felony convictions to navigate its convoluted eligibil-

ity requirements at the time of registration. At the same time, Florida officials have

adopted a policy of investigating, arresting, and prosecuting returning citizens for

good-faith mistakes about their eligibility. Compl. ¶¶ 111-143. Florida is also report-

edly investigating third-party voter registration organizations and their members for

allegedly registering ineligible returning citizens to vote. Compl. ¶¶ 48-50. Yet the

Application’s vague reference to whether one’s “right to vote has been restored”




6
  In some circumstances, Florida’s advisory opinion process can provide applicants
some eligibility information. But Florida law does not specify a timeframe for when
the Division of Elections must provide an advisory opinion. See Jones v. Governor
of Fla., 975 F.3d 1016, 1094 (11th Cir. 2020) (Jordan, J., dissenting) (citing Fla. Stat.
§ 106.23(2)). And even applicants who receive a timely response cannot rely on
them definitively because an advisory opinion, if wrong, might not serve as a shield
from prosecution. See Jones v. DeSantis, 462 F. Supp. 3d 1196, 1241-42 (N.D. Fla.
2020) (deeming it “not at all clear” that an individual who acts in accordance with
an advisory opinion is immune from prosecution). In some circumstances, the pro-
cess raises more questions than answers about eligibility. See Advisory Opinions by
Year, FLA. DIV. OF ELECTIONS, https://dos.myflorida.com/elections/laws-rules/advi-
sory-opinions/advisory-opinions-by-year/ (stating within each advisory opinion that
the Division of Elections “does not opine as to whether any other convictions [of the
applicant] exist nor whether any such other convictions would interfere with eligi-
bility”); Advisory Opinions, FLA. DIV. OF ELECTIONS, https://dos.myflorida.com/
elections/laws-rules/advisory-opinions/ (“An advisory opinion represents the Divi-
sion’s interpretation of the law applicable at the time the opinion is issued[.]”).

                                          13
     Case 4:23-cv-00165-AW-MAF Document 29 Filed 06/01/23 Page 14 of 33




offers little to no practical guidance on the matter.

      B.     Thompson Does Not Support Defendant’s Argument that the
             Application’s Hyperlink Provides Sufficient Notice to Applicants
             as a Matter of Law.

      Defendant concedes that multiple eligibility requirements apply to returning

citizens and that the Application’s text does not specify each of these requirements.

But Defendant asserts that Florida need not “detail all the eligibility requirements”

for returning citizens. See, e.g., MTD at 3.7 Instead, Defendant reads Thompson to

require only that a state “provide[] a general description of eligibility criteria for

convicted felons and a link to a state website where more detailed explanations for

determining eligibility can be viewed.” Id.8 But Defendant fails to offer what he says

is lacking—“some limiting principle to buttress [this] argument,” id. at 13—and in-

stead suggests that an application containing any level of generality and a hyperlink

would suffice. Defendant’s argument fails for at least four reasons.




7 Defendant’s website—upon which he relies, as discussed infra—similarly states
that “eligibility requirements to restore voting rights are found in the Florida Con-
stitution and Florida Statutes.” See Constitutional Amendment 4/Felon Voting
Rights, FLA. DIV. OF ELECTIONS, https://www.dos.myflorida.com/elections/for-vot-
ers/voter-registration/constitutional-amendment-4felon-voting-rights/.
8 See also MTD at 10 (“Florida’s Application fully complies with the requirements
of the NVRA by informing persons previously convicted of felonies that they might
not be eligible to vote unless certain conditions are met and providing a link to a
state website where prospective applicants can” find answers to questions about
voter eligibility.).

                                          14
     Case 4:23-cv-00165-AW-MAF Document 29 Filed 06/01/23 Page 15 of 33




      First, nothing in Thompson suggests that a “general description” of eligibility

“criteria”—with or without an accompanying link—satisfies the NVRA. The statute

expressly requires states to “specif[y] each eligibility requirement” on voter-regis-

tration applications. See supra at 7 n.3. As explained above, the application at issue

in Thompson stated that applicants “must not ‘have been convicted of a disqualifying

felony’” unless their rights had been restored. 505 F. Supp. 3d at 1253. The Thompson

plaintiffs argued that the NVRA required the Alabama form to list each of those Al-

abama felonies, but the Eleventh Circuit rejected this argument and held that “a spec-

ification of a qualification—disqualifying felony—which generally refers to partic-

ular crimes” was “specific enough.” 65 F.4th at 1308 (quoting 505 F. Supp. 3d at

1271). In other words, the Eleventh Circuit held that the text of Alabama’s form

provides notice that the crime of conviction (i.e., a “disqualifying felony”) affects a

returning citizen’s eligibility. This “specifies” the eligibility requirement, even if it

uses a “general” term.

      Here, by contrast, Defendant concedes that the Application’s phrase “right to

vote is restored” embeds multiple, unstated eligibility requirements; he simply ar-

gues that Florida need not “detail all [those] requirements.” MTD at 3. The Applica-

tion’s vague references to those “convicted of a felony” whose “right to vote [has

been] restored” do not specify anything about the different classes of felonies, which

are subject to different eligibility requirements depending on the terms of sentence


                                           15
     Case 4:23-cv-00165-AW-MAF Document 29 Filed 06/01/23 Page 16 of 33




and state of conviction. See generally Compl. ¶¶ 10, 168-179. The upshot is that the

Application presents a tautology: returning citizens are eligible to vote if they are

eligible. Nothing in Thompson suggests that this type of “general description” satis-

fies the NVRA’s mandate to “specify” “each” eligibility requirement.

      Second, Thompson does not hold that a state necessarily satisfies its obligation

under the NVRA by supplementing its application with a hyperlink to a state website

that can lead—if a user finds and clicks the correct link on that page—to a second

webpage that allegedly specifies the eligibility requirements. Determining NVRA

compliance is a fact-specific inquiry, and neither the statute nor Thompson set out a

specific rule about the requirements in each state. The Eleventh Circuit held only

that “Alabama’s mail-in voting form has provided sufficient notice by informing reg-

istrants that persons convicted of disqualifying felonies are not eligible to vote and

providing an easily accessible link whereby voters convicted of felonies can deter-

mine their voter eligibility.” Thompson, 65 F.4th at 1309.

      The Eleventh Circuit did not—and could not—hold that a general description

plus a hyperlink suffices in every case. Because the text of the form in Thompson

specified the one eligibility criterion relevant to the plaintiffs’ NVRA claim in that

case—having been convicted of a disqualifying felony—Thompson does not address

whether a state may forgo including the necessary information on the form itself by

providing a link to the information that the NVRA requires. See id. at 1308 (quoting


                                         16
     Case 4:23-cv-00165-AW-MAF Document 29 Filed 06/01/23 Page 17 of 33




505 F. Supp. 3d at 1271) (holding that “a specification of a qualification—disquali-

fying felony—which generally refers to particular crimes” was “specific enough” to

satisfy NVRA).

      Third, Thompson and this case differ on the facts and in their procedural pos-

ture. As to the facts, the hyperlink in the Alabama application appears immediately

next to language about individuals who are “barred from voting by reason of a dis-

qualifying felony conviction,” and the text clearly indicates that the link contains a

list of those disqualifying felonies. Thompson, 505 F. Supp. 3d at 1271. There was

no dispute: anyone reading the Alabama application could inform themselves about

which Alabama felonies were disqualifying by navigating to the link.

      Here, by contrast, Defendant acknowledges that the hyperlink on the Appli-

cation is a “few lines” below the statement about felony convictions, under a general

heading labeled “Questions?,” and below another hyperlink to “a list of county Su-

pervisors of Elections offices.” MTD at 9. To reach the actual webpage upon which

Defendant relies, a prospective voter must visit the “second link” that appears on the

Application, and then find and click yet another link under a subheading. Id. Neither

the hyperlink on the Application nor the language surrounding it provide any hint

that there are multiple eligibility requirements for different groups of returning citi-

zens; that the website will provide any information on that issue (let alone complete

information); or that one must navigate to still another webpage on that website to


                                          17
     Case 4:23-cv-00165-AW-MAF Document 29 Filed 06/01/23 Page 18 of 33




obtain the relevant information. Thompson certainly does not address the sufficiency

of Florida’s link-to-a-link scheme. And even assuming applicants can successfully

complete this cyber-scavenger hunt, Thompson does not address the adequacy of the

information that the ultimate webpage contains.

      To account for this discrepancy, Defendant effectively argues that a voter-reg-

istration form “include[s]” every statement contained in every subpage of every

website that is hyperlinked on the application. But under that interpretation, a voter-

registration form would comply with the NVRA so long as it said “you must be

eligible to vote” and included a hyperlink to Florida statutes. Plainly, Defendant’s

argument contravenes the NVRA’s text. If Congress intended to require only a

vague, bare-bones disclosure—or a hyperlink to a website containing additional hy-

perlinks, even when (as in Florida) eligibility requirements differ for differently sit-

uated people—Congress would not have required states to “specify” “each” voter-

eligibility requirement on mail-in voter-registration applications. See United States

v. McLymont, 45 F.3d 400, 401 (11th Cir. 1995) (“In interpreting the language of the

statute, this Court must assume that Congress used the words of the statute as they

are commonly and ordinarily understood and must construe the statute so each of its

provisions is given full effect.”).

      As to the procedural posture, the Eleventh Circuit determined that the hyper-

link on Alabama’s application is “easily accessible” only upon review of a full


                                          18
     Case 4:23-cv-00165-AW-MAF Document 29 Filed 06/01/23 Page 19 of 33




summary-judgment record. Thompson, 65 F.4th at 1309. Here, Defendant asks the

Court to dismiss this case as a matter of law and without the benefit of any discovery

record. As Thompson explained, the NVRA’s “specifies” requirement “is a notice

statute enacted for the convenience of voting registrants.” Id. Courts commonly con-

sider whether information adequately puts a person on notice to be a question of fact.

See, e.g., PB Prop. Mgmt. v. Goodman Mfg. Co., L.P., No. 3:12-cv-1366-HES-JBT,

2014 WL 12640371, at *3 n.1 (M.D. Fla. Aug. 14, 2014) (“[S]ufficiency of notice is

a question of fact and is not to be determined at the motion to dismiss stage.”); MTM

Television Distrib. Grp. v. Pub. Int. Corp., No. 91-1519-CIV-T 17C, 1992 WL

80625, at *2 (M.D. Fla. Mar. 24, 1992) (“Any challenge to the sufficiency of the

notice of termination involves questions of fact which are not properly determined

on a 12(b)(6) motion to dismiss.”). As described above, there are a series of open

factual questions here that make this case inappropriate for dismissal, including the

ultimate question: whether Florida’s Application and hyperlink provide adequate no-

tice to applicants of its complex voter-eligibility requirements for returning citizens.

      Fourth, Defendant’s argument conflicts with the context and stated purpose of

the NVRA. See Wachovia Bank, N.A. v. United States, 455 F.3d 1261, 1267 (11th

Cir. 2006) (quoting Dolan v. U.S. Postal Serv., 126 S. Ct. 1252, 1257 (2006)) (“In-

terpretation of a word or phrase depends upon reading the whole statutory text, con-

sidering the purpose and context of the statute, and consulting any precedents or


                                          19
     Case 4:23-cv-00165-AW-MAF Document 29 Filed 06/01/23 Page 20 of 33




authorities that inform the analysis.”). In enacting the NVRA, Congress intended to

“increase the number of eligible citizens who register to vote,” “enhance[] the par-

ticipation of eligible citizens,” protect the integrity of the electoral process, and en-

sure the accuracy of voter-registration rolls. 52 U.S.C. § 20501(b).

      The Application’s bare-bones disclosure does not serve these goals. Florida

does not improve election integrity or access to the ballot in federal elections by

failing to inform those convicted of statutorily enumerated murder or felony sexual

offenses in Florida that they are not eligible to vote until their rights are restored

through clemency; those convicted of other felonies in Florida that they cannot vote

until they have completed all terms of their sentence, including probation, parole,

community custody and payment of certain LFOs; or those with out-of-state convic-

tions that their eligibility depends on the rules of the state in which they were con-

victed.

      This informational keep-away also makes it significantly more likely that re-

turning citizens—along with Plaintiffs’ members and volunteers assisting them with

voter registration—will make good-faith mistakes about voter eligibility. The avail-

able information suggests that many returning citizens are misinformed and con-

fused about their eligibility status. See Compl. ¶¶ 121-134. This is exactly what the

NVRA’s drafters were concerned about when they decided to require states to “spec-

ify” each eligibility requirement. See S. REP. NO. 102-60, at 23 (1991) (“It is


                                           20
       Case 4:23-cv-00165-AW-MAF Document 29 Filed 06/01/23 Page 21 of 33




important . . . that each applicant be advised of the voting requirements and the need

to decline to register if he or she does not meet the requirements. The bill provides

that all registration requirements should be set forth in the application to register to

vote so that they will be readily available for each applicant to review during the

application process.”). Indeed, applicants are asked to affirm their eligibility under

penalty of perjury.

         C.    The Complaint Plausibly Alleges that the Application Fails to
               Inform Potential Voters of Each Eligibility Requirement.

         While the Eleventh Circuit in Thompson ruled that the Alabama state mail-in

form adequately “specified” the eligibility requirement at issue, it did not consider

the separate requirement that a registration form “inform applicants . . . of . . . voter

eligibility requirements.”9 The Complaint alleges that the Application violates the

NVRA’s “inform” requirement in addition to the “specify” requirement. Compl. ¶ 3.

And the Complaint plausibly alleges that the Application fails to “inform” applicants

of Florida’s voter-eligibility requirements because the Application does not ade-

quately convey information about the requirements for Florida residents with felony

convictions.




9   See supra at 7 n.4.

                                           21
     Case 4:23-cv-00165-AW-MAF Document 29 Filed 06/01/23 Page 22 of 33




      Moreover, whether the Application “inform[s]” applicants of Florida’s eligi-

bility requirements—i.e., actually “communicates knowledge”10—is another ques-

tion of fact that cannot be resolved on a motion to dismiss. The Complaint plausibly

pleads that many applicants are confused and misinformed about the eligibility rules.

See Compl. ¶¶ 121-134. Whether a person convicted of a felony (who does not al-

ready know the specific requirements applicable to different types of offenses, sen-

tences, and states of conviction) will be informed of Florida’s eligibility require-

ments after reading the Application cannot be determined without discovery regard-

ing how actual applicants understand, or would likely understand, the language on

the form. Those questions can only be resolved after factfinding. Cf. Urena v. Biro

Mfg. Co., 114 F.3d 359, 366 (2d Cir. 1997) (“The adequacy of the instruction or

warning is generally a question of fact to be determined at trial and is not ordinarily

susceptible to the drastic remedy of summary judgment.”); Ayer v. United States,

721 F. Supp. 1395, 1396 (D. Me. 1989), aff ’d, 902 F.2d 1038 (1st Cir. 1990) (“ [A]




10Like “specify,” “inform” is not defined by the NVRA. See 52 U.S.C. § 20502.
“Inform” means “to communicate knowledge to.” Inform, MERRIAM-WEBSTER,
https://www.merriam-webster.com/dictionary/inform. To “communicate” is to “con-
vey knowledge of or information about,” Communicate, MERRIAM-WEBSTER,
https://www.merriam-webster.com/dictionary/communicate, and to “convey” is “to
cause to pass from one place or person to another,” Convey, MERRIAM-WEBSTER,
https://www.merriam-webster.com/dictionary/convey. Thus, a voter-registration
form cannot “inform” applicants of eligibility requirements unless that knowledge
in fact “pass[es] from one . . . person to another.”

                                          22
     Case 4:23-cv-00165-AW-MAF Document 29 Filed 06/01/23 Page 23 of 33




claim based on a failure to warn falls into a different category, implicating questions

of fact rather than statutory interpretation”); Garden Meadow, Inc. v. Smart Solar,

Inc., 24 F. Supp. 3d 1201, 1212 (M.D. Fla. 2014) (“[T]he likelihood of confusion is

generally a question of fact[.]”).

      D.     Plaintiffs Propose a Straightforward and Workable
             Interpretation of the NVRA.

      Contrary to Defendant’s claims, Plaintiffs’ arguments would not lead to “ab-

surd results.” MTD at 13. And the remedy that Plaintiffs seek is simple and workable.

      First, in contrast to Thompson, Plaintiffs do not contend that the NVRA re-

quires the Application to list each disqualifying felony, or even each felony that qual-

ifies as “murder” or a “felony sexual offense” (for which rights are not automatically

restored upon completion of all terms of sentence). See Thompson, 65 F.4th at 1308.

Accordingly, Plaintiffs do not request an exceedingly long form that would constitute

an “unworkable” remedy. Plaintiffs request only that the Application inform appli-

cants about the different eligibility requirements that apply to different classes of

returning citizens. See Compl. at 44-45 (Prayer for Relief). As one of the many al-

ternatives that Plaintiffs detailed in the letter they sent to Defendant pursuant to the

NVRA’s 90-day notice provision, see Compl. ¶ 78, Plaintiffs explained that Defend-

ant could bring the Application into compliance with the NVRA by including a half-

page addendum with a few bullet points explaining the eligibility requirements. See

Compl., Ex. 2 at 7-9. This is a far cry from the “monstrous” addendum that the

                                          23
     Case 4:23-cv-00165-AW-MAF Document 29 Filed 06/01/23 Page 24 of 33




Eleventh Circuit found unworkable in Thompson. 65 F.4th at 1308.

      Second, Plaintiffs do not demand an “exhaustive explanation of every legal

particular underlying each eligibility requirement,” as Defendant contends. MTD at

8, 13-15. Under a plain reading of the NVRA, an application form must “state in full

and explicit terms”—and adequately inform applicants of—each eligibility require-

ment. See supra at I.A. Here, as Defendant’s motion acknowledges, the Complaint

plausibly alleges that Florida’s eligibility scheme establishes different eligibility re-

quirements for different groups of returning citizens, but the Application says noth-

ing to inform applicants about those specific requirements. See id.

      Defendant argues that “citizenship” and “residence” are capacious concepts

and that Plaintiffs’ theory would render the Application deficient as to those require-

ments as well. MTD at 11-14. But as Defendant concedes and common sense dic-

tates, U.S. citizenship and Florida residence are both properly understood as single

eligibility requirements in Florida’s voter-eligibility scheme. See id. at 11 (the Ap-

plication “specifies four discrete eligibility requirements,” including “U.S. citizen-

ship” and “Florida residence”). Plaintiffs’ theory is not that an application form must

resolve every possible question that could arise about whether an individual appli-

cant satisfies a particular eligibility requirement. Instead, it is that the form adheres

to the NVRA’s plain text by specifying what the eligibility requirements are. By

stating that a registrant “must be . . . a U.S. citizen” and “a Florida resident,” the


                                           24
     Case 4:23-cv-00165-AW-MAF Document 29 Filed 06/01/23 Page 25 of 33




Application adequately “specif[ies]” and “inform[s]” applicants as to those eligibil-

ity requirements.

      By contrast, the language in the Application indicating that those convicted of

felonies may not vote until their “right to vote is restored” does not state any eligi-

bility requirement, but merely signals that there are eligibility requirements for peo-

ple with felony convictions. This language is particularly misleading and uninforma-

tive in the context of Florida’s complex eligibility scheme, wherein the restoration

of rights entails vastly different things for different groups of returning citizens. To

offer just one example, applicants with certain Florida convictions must pay off all

LFOs as a precondition to eligibility, but the same is not necessarily true for appli-

cants with convictions from other states that do not impose a similar requirement for

voting-rights restoration.

      Third, Defendant erroneously argues that Plaintiffs demand a “Goldilocks”

voter-registration form that provides “just the right amount” of information—less

than the previously invalidated 2019 form and more than the current Application.

MTD at 12 (emphasis omitted). Defendant misconstrues Plaintiffs’ claim and their

earlier challenge to the 2019 form. Plaintiffs have never claimed that the NVRA dic-

tates particular language for a voter-registration application. Rather, the NVRA re-

quires that states specify and inform applicants of voter eligibility requirements.

Florida’s form fails to do that.


                                          25
     Case 4:23-cv-00165-AW-MAF Document 29 Filed 06/01/23 Page 26 of 33




      Moreover, as the Complaint explains, the 2019 challenge did not turn on

whether the form provided too much information to applicants. Rather, that NVRA

claim concerned (1) how much information applicants were required to disclose,

(2) the impossibility for whole classes of returning citizens to check a box that ac-

curately captured their status, and (3) the form’s failure to inform applicants of the

rules for those with out-of-state or federal convictions. Compl. ¶ 101. Plaintiffs have

never challenged a Florida voter-registration form for providing too much infor-

mation about eligibility requirements. Indeed, as the NVRA’s legislative history

makes clear, providing more eligibility information on a voter-registration form goes

hand-in-hand with requiring applicants to disclose less. See H.R. REP. NO. 103-9, at

7-8 (1993) (“Since some of the reasons for declining to register to vote may involve

matters of personal privacy, such as ineligibility under State law due to . . . a criminal

conviction, an individual who declines to register to vote shall not be questioned as

to the reasons for such action.”); S. REP. NO. 103-6, at 24 (1993) (same).

      Specifying and informing applicants of each eligibility requirement and lim-

iting the disclosures required of applicants serve the same goal of the NVRA: en-

couraging voter registration by permitting voters to determine their eligibility pri-

vately and accurately.




                                           26
      Case 4:23-cv-00165-AW-MAF Document 29 Filed 06/01/23 Page 27 of 33




II.    Plaintiffs’ Letter to Defendant Satisfies the NVRA’s Notice
       Requirements.

       Plaintiffs’ January 13, 2023 letter to Defendant provided proper notice under

52 U.S.C. § 20510(b)(1), and Defendant’s argument that Plaintiffs lack statutory

standing is meritless.

       The plain language of Section 20510(b)(1) requires only that a “person who is

aggrieved by a violation” of the NVRA provide to the State’s chief election official

“written notice of the [NVRA] violation.” See id. The very first sentence of Plaintiffs’

January 13, 2023, letter to Defendant reads: “Pursuant to 52 U.S.C. § 20510(b), we

write . . . to formally notify you that Florida’s uniform statewide voter registration

application violates the National Voter Registration Act of 1993.” See Compl., Ex.

2 at 2. And as Defendant concedes, “[t]he letter explains at length why Plaintiffs

believe Florida’s Application violates [the] NVRA by not adequately informing ap-

plicants—in particular, persons previously convicted of felonies—of voter eligibility

requirements.” MTD at 16.

       That concession decides the issue. Defendant admits that he was on notice of

the alleged NVRA violations and, as numerous courts have held, that is all that Sec-

tion 20510(b)(1) requires. See, e.g., Green v. Bell, No. 3:21-cv-00493-RJC-DCK,

2023 WL 2572210, at *3 (W.D.N.C. Mar. 20, 2023) (“[T]he Plaintiffs’ pre-suit notice

announces a violation of the NVRA, so it satisfies the statute’s notice requirement.”);

Ga. State Conf. of NAACP v. Kemp, 841 F. Supp. 2d 1320, 1334 (N.D. Ga. 2012)

                                          27
     Case 4:23-cv-00165-AW-MAF Document 29 Filed 06/01/23 Page 28 of 33




(finding that plaintiffs satisfied the NVRA’s notice requirement by “set[ting] out” the

“general proposition” that the state was “not complying with the mandates of the

NVRA”); see also Scott v. Schedler, 771 F.3d 831, 836 (5th Cir. 2014) (quoting Ass’n

of Cmty. Orgs. for Reform Now v. Miller, 129 F.3d 833, 838 (6th Cir. 1997)) (the

purpose of the NVRA’s notice requirement is to “provide states . . . an opportunity

to attempt compliance before facing litigation”). Defendant never addresses those

cases.

         Unable to contest this basic point, Defendant pivots to an argument that no

court has ever embraced and which finds no support in the NVRA’s text—that an

NVRA notice letter is defective if it omits “a specific threat to sue.” MTD at 16-17

(insisting on magic words such as “we intend to commence litigation”). Defendant

directs the focus to dicta in two cases that turned on notice issues not relevant here—

whether the plaintiff notified the correct official, Pub. Int. Legal Found. v. Boockvar,

370 F. Supp. 3d 449, 457 (M.D. Pa. 2019), or whether the notice adequately identi-

fied the documents plaintiffs sought in the litigation, Project Vote, Inc. v. Kemp, 208

F. Supp. 3d 1320, 1348 (N.D. Ga. 2016). Neither Boockvar nor Project Vote held the

notice deficient because it omitted an explicit threat to sue. 11



11
  Even if the NVRA did require notice of an intention to sue, Plaintiffs’ letter pro-
vided adequate notice by citing, in the first sentence, Section 20510(b), which is
entitled “Private right of action.” Compl., Ex. 2 at 2. Defendant was apparently


                                           28
    Case 4:23-cv-00165-AW-MAF Document 29 Filed 06/01/23 Page 29 of 33




        The Court should reject Defendant’s attempt to graft a novel “magic words”

requirement on to the text of the NVRA’s notice provision and deny his motion to

dismiss for want of standing under the NVRA.

                                 CONCLUSION

        For the foregoing reasons, the Court should deny Defendant’s motion to dis-

miss.




aware of this provision—he responded to the letter on the 89th day of the 90-day
period during which a plaintiff must wait to bring suit. Compl. ¶ 78.

                                         29
    Case 4:23-cv-00165-AW-MAF Document 29 Filed 06/01/23 Page 30 of 33




Respectfully submitted this 1st day of June, 2023,

/s/ Andrew Frackman

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                                        30
    Case 4:23-cv-00165-AW-MAF Document 29 Filed 06/01/23 Page 31 of 33




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                                   31
     Case 4:23-cv-00165-AW-MAF Document 29 Filed 06/01/23 Page 32 of 33




                    LOCAL RULE 7.1(F) CERTIFICATION

         I certify that this memorandum contains 6,695 words, excluding the case style

and certifications; and it complies with the size and font requirements in the local

rules.

                                             /s/ Andrew Frackman
                                             Andrew Frackman




                                          32
    Case 4:23-cv-00165-AW-MAF Document 29 Filed 06/01/23 Page 33 of 33




                        CERTIFICATE OF SERVICE
      I certify that on June 1, 2023, I electronically filed the foregoing with the Clerk

of Court by using CM/ECF, which automatically serves all counsel of record for the

parties who have appeared.

                                             /s/ Andrew Frackman
                                             Andrew Frackman




                                          33
